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                                       ORDERED.


      Dated: June 12, 2018




                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
 In Re:
                                                               Case No. 6:15-bk-08570-KSJ
 BENITO RODRIGUEZ
 MARIA RODRIGUEZ                                               Chapter 7

       Debtors
 _____________________________________/


           AGREED ORDER DENYING MOTION TO SELL PROPERTY
      FREE AND CLEAR OF LIENS AND APPROVING SALE OF PROPERTY TO
                          SECURED CREDITOR

          THIS CASE came before the Court upon the Motion to Sell Property Free and Clear of

Liens filed by the Chapter 7 Trustee (DE #150). It being that the parties are in agreement as to the

entry of this Order, it is:

          ORDERED:

          1.     The Motion to Sell Property Free and Clear of Liens (DE #150) is DENIED.




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       2.      Upon receipt of an executed deed in lieu, Secured Creditor, U.S. Bank Trust, N.A.,

as Trustee for Lsf9 Master Participation Trust (“Secured Creditor) shall complete a final inspection

of the property.

       3.          Once the property is confirmed vacant, and surrendered in “broom swept

condition,” as defined in paragraph 4, and a W-9 is received from the Chapter 7 Trustee, Secured

Creditor will pay $17,500.00 to the estate.

       4.      Borrower and Chapter 7 Trustee (hereinafter collectively referred to as

“Borrower”), shall vacate the Property and remove all of their personal belongings by July 1, 2018

(“Vacate Date”). Borrower shall leave the interior and exterior of the Property in “broom- clean”

condition, including but not limited to: floors swept and cleaned; carpeting vacuumed and all trash

and debris removed from interior, exterior and curb of the Property. Borrower shall not remove

any fixture from the Property. “Fixture” includes, but is not limited to, anything affixed/attached

to the Property by means of cement, plaster, nails, bolts, screws or roots, such as light fixtures,

built-in refrigerators, ovens, stoves, stove-top hoods, air conditioning units, water heaters, furnace,

window coverings, wall to wall carpeting, sinks, kitchen and bathroom fixtures, doors, garage door

openers, and plants in the yard. Borrower agrees that U.S. Bank Trust, N.A., as Trustee for Lsf9

Master Participation Trust may remove and dispose of any remaining personal items left at the

Property after the Vacate Date. Borrower acknowledges that as of July 1, 2018 she no longer has

any claim to possession of the Property or any personal property remaining therein.



Attorney Stefan Beuge, Esq. is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.




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